               Case 1:09-cr-00388-DAD Document 36 Filed 08/24/10 Page 1 of 2



 1   CARL M. FALLER SBN: 70788
     Attorney at Law
 2   Post Office Box 912
     Fresno, CA 93714
 3   Tel: 559-226-1534
     Fax: 559-734-0867
 4   carl.faller@fallerdefense,com
 5   Attorney for Defendant
     SARAH RENEE TODD
 6

 7

 8
                            IN THE UNITED STATED DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00388 LJO
12                                                   )
                    Plaintiff,                       )   STIPULATION TO CONTINUE
13                                                   )   STATUS CONFERENCE
         vs.                                         )
14   SARAH RENEE TODD,                               )   Date: August 27, 2010
                                                     )   Time: 8:45 am
15                                                   )   Honorable Lawrence J. O’Neill
                    Defendant.                       )
16
            It is hereby stipulated by and between the parties hereto, through their respective
17
     attorneys of record, as follows:
18
            A status conference in this matter is currently set for August 27, 2010 at 8:45 am.
19
            By agreement of the parties, it is requested that the matter as to Sarah Todd, only, be
20
     continued to September 3, 2010 at 8:45 am, for entry of plea. This defendant has reached a plea
21
     agreement with the government, and it requested that she be allowed to appear without her
22
     codefendant for entry of that plea.
23
            It is further stipulated that the time between August 27, 2010 and September 3, 2010 shall
24
     be excluded under the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(7)(A)
25
     and (h)(7)(B)(iv), in that the ends of justice are served by such exclusion to allow the plea
26
     ///
27
     ///
28
                Case 1:09-cr-00388-DAD Document 36 Filed 08/24/10 Page 2 of 2



 1   agreement to be formalized, filed and entered before the court.
 2   Dated: August 23, 2010                                  Respectfully submitted,
 3                                                           /s/ Carl M. Faller_______
                                                             CARL M. FALLER
 4
                                                             Attorney for Defendant
 5                                                           SARAH RENEE TODD

 6
                                                             BENJAMIN B. WAGNER
 7                                                           United States Attorney
 8
                                                     By      /s/ Mark J. McKeon____
 9                                                           MARK J. McKEON
                                                             Assistant U.S. Attorney
10                                                           Attorney for the United States

11            ORDER:
12
              Based upon the stipulation of the parties and good cause appearing, it is hereby
13
     ORDERED that the status conference currently set for August 23, 2010 at
14
     8:45 am, be continued to September 3, 2010 at 8:45 am, for a change of plea by the defendant.
15
              It is further ORDERED that the time between August 27, 2010 and September 3, 2010
16

17   shall be excluded under the Speedy Trial Act, Title 18, United States Code, Sections

18   3161(h)(7)(A) and (h)(7)(B)(iv), in that the ends of justice are served by such exclusion, to allow
19   for the defendant’s plea agreement to be finalized, filed with the court, and entered before the
20
     court.
21
              Trial will be set at the August 27th status conference, so if there is no change of plea by
22
     Defendant Todd on September 3rd, she will be obligated to be ready and move forward with trial
23

24
     on the date that will be selected without her Counsel’s help.

25   DATED: August 23, 2010
                                                             ______/s/ Lawrence J. O’Neill_______
26                                                           LAWRENCE J. O’NEILL
                                                             United States District Judge
27

28
